Case 2:05-cr-20142-.]DB Document 51 Filed 07/20/05 Page 1 of 2 Page|D 50

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IN THE UNITED sTATEs DISTRICT CoURT 05 JUL 2
FoR THE WESTERN DISTRICT oF TENNESSEE 0 PH '*’ ' l
WESTERN DIVISION grow M G(MD

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UNITED sTATEs oF AMERICA’

Plaintiff,
v. No. 05-20142-B/P
CALVIN McNARY,

Defendant.

 

ORDER OF REFERENCE

 

The above matter is referred to the United States Magistrate Judge for determination as
to whether present counsel should be removed and new counsel appointed. Any objections to
the magistrate judge’s order shall be made Within ten (10) days after service of the order, setting
forth particularly those portions of the order objected to and the reasons for the objections.

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IT IS SO ORDERED this w day of July, 2005.

 

 

J. DANIEL BREEN \
Nr 513 sTATEs DISTRICT JUDGE

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UNITED sTATE D"isiC COURT - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
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Honorable J. Breen
US DISTRICT COURT

